17-13484-shl       Doc 101        Filed 06/25/18       Entered 06/25/18 15:49:46        Main Document
                                                     Pg 1 of 40
                                                      Hearing Date: Wednesday, August 1, 2018 at 11:00 a.m.
                                                              Objection Deadline: Wednesday, July 25, 2018

DIAMOND McCARTHY LLP
Allan B. Diamond, Esq.
489 Fifth Avenue, 21st Floor
New York, NY 10017
Tel: (212) 430-5400
Fax: (212) 430-5499

Christopher R. Murray, Esq.
Charles M. Rubio, Esq.
909 Fannin Street, 37th Floor
Houston, Texas 77010
Tel: (713) 333-5100
Fax: (713) 333-5199

Counsel for Ponderosa
Energy LLC and GS Energy LLC,
Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
In re:
                                                                    Chapter 11
         PONDEROSA ENERGY, LLC and                                  Case No. 17-13484-SHL
         GS ENERGY, LLC                                             (Jointly Administered)

                                             Debtors.
------------------------------------------------------------   x

            DEBTOR PONDEROSA ENERGY LLC’S OBJECTION TO
    THE CITY OF NEW YORK DEPARTMENT OF FINANCE’S PROOF OF CLAIM

      THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING PARTY IS
      ASKING THE COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
      BANKRUPTCY CASE. YOU SHOULD IMMEDIATELY CONTACT THE
      OBJECTING PARTY TO RESOLVE THE DISPUTE. IF YOU DO NOT REACH
      AN AGREEMENT, YOU MUST FILE A RESPONSE TO THIS OBJECTION AND
      SEND A COPY OF YOUR RESPONSE TO THE OBJECTING PARTY WITHIN 30
      DAYS AFTER THE OBJECTION WAS SERVED ON YOU. YOUR RESPONSE
      MUST STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO NOT FILE A
      RESPONSE WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON
      YOU, YOUR CLAIM MAY BE DISALLOWED WITHOUT A HEARING.


      A HEARING HAS BEEN SET ON THIS MATTER ON AUGUST 1, 2018 AT 11:00
      A.M. BEFORE THE HONORABLE SEAN H. LANE, UNITED STATES
      BANKRUPTCY COURT, SOUTHERN DISTRICT OF NEW YORK, ALEXANDER
17-13484-shl    Doc 101     Filed 06/25/18     Entered 06/25/18 15:49:46        Main Document
                                             Pg 2 of 40


     HAMILTON U.S. CUSTOM HOUSE, COURTROOM 701, ONE BOWLING
     GREEN, NEW YORK, NEW YORK 10004.


TO THE HONORABLE SEAN H. LANE, U.S. BANKRUPTCY JUDGE:
     COMES NOW, Ponderosa Energy, LLC (“Ponderosa” or the “Debtor”) and hereby files

this Debtor’s Objection to The City of New York Department of Finance’s Tax Claim

(“Objection”) and states as follows:

                                       BACKGROUND
       1.      On December 5, 2017 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101‒1532 (as

amended, the “Bankruptcy Code”), in this Court.

       2.      Prior to the Petition Date, the Debtors’ business was oil and gas exploration and

production and the Debtors’ held working interests in mineral leases in the Anadarko Basin in

Northern Texas. These interests include hundreds of wells that produce substantial quantities of

oil and gas.

       3.      As of the Petition Date, the Debtors continue as debtors-in-possession to operate

wells on the oil and gas leases they own in Northern Texas.

       4.      On March 20, 2018, the Debtor (and debtor GS Energy LLC) filed a motion (the

“Sale Motion”), requesting, inter alia, entry of an order (the “Sale Order”) pursuant to 11 U.S.C.

§§ 105 and 363, authorizing and approving (i) the sale of substantially all of the Debtor’s assets

pursuant to that certain Settlement and Sale Agreement and Release of Liability by and between

the Debtor and GS Energy LLC, on the one hand, and Petroleum Production Finance, Inc.; PPF 2

LLC; and PPF 3 LLC (the “PPF Parties”) free and clear of liens, claims, encumbrances, and

other interests and (ii) the assumption and assignment of certain executory contracts and

unexpired leases (the “Sale”).

                                                2
17-13484-shl    Doc 101     Filed 06/25/18     Entered 06/25/18 15:49:46       Main Document
                                             Pg 3 of 40


       5.      On April 18, 2018, the Court approved the Sale and entered the Sale Order, and

the Sale closed on May 2, 2018. Following the closing of the Sale, the Debtor no longer owns

and operates its working interests in mineral leases in the Anadarko Basin, with the exception of

a single lease and two wells known as the Chapman properties.

       6.      On May 29, 2018, the City of New York Department of Finance (“NYCDF”)

filed its Proof of Claim (the “Proof of Claim” or “Claim”). NYCDF asserts that the Claim is

entitled to priority pursuant. NYCDF’s Claim is for $351,238.89 (the “Claim Amount”), with

NYCDF claiming that the entirety of the Claim Amount is entitled to priority treatment.

                                           JURISDICTION

       7.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334(b), and the “Amended Standing Order of Reference” of the United States District

Court for the Southern District of New York, dated December 5, 2012, effective as of February

1, 2012 (Preska, C.J.). Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. §

157(b)(2).

       8.      Venue is properly before this Court pursuant to 28 U.S.C. § 1408.

                                   RELIEF REQUESTED

       9.      The Debtor files this Objection pursuant to section 502(b) of title 11 of the

Bankruptcy Code and Rule 3007(d) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and seeks entry of an order denying the Claim. A true and correct copy of

the Claim is attached hereto as Exhibit A.          Ponderosa has examined the Claim and has

determined that it is not a valid claim because the Debtor does not own any of the amounts

sought in the Claim since the Debtor (A) was not in existence prior to April 2015; (B) is not a

corporation; (C) never paid annualized rent of $250,000 or more for office space in Manhattan;



                                                3
17-13484-shl     Doc 101     Filed 06/25/18     Entered 06/25/18 15:49:46        Main Document
                                              Pg 4 of 40


and (4) is not an unincorporated business, pursuant to New York City Admin. Code §11-

502(c)(4).

                                      BASIS FOR RELIEF
       10.     A filed proof of claim is “deemed allowed, unless a party in interest . . . objects.”

11 U.S.C. § 502(a). If an objection refuting at least one of the claim’s essential allegations is

asserted, the claimant bears the burden of demonstrating the validity of the claim. See In re

Oneida Ltd., 400 B.R. 384, 389 (Bankr. S.D.N.Y. 2009), aff’d, No. 09 Civ. 2229 (DC), 2010 WL

234827 (S.D.N.Y. Jan 22, 2010). For the reasons discussed below, the Claim is not a valid

priority claim, and thus the burden shifts to NYCDF to demonstrate otherwise. Id.

       11.     The relief requested is necessary and appropriate, is in the best interests of their

estates and creditors, and should be granted in all respects.

   A. NYCDF’s Proof of Claim Should Be Reduced by at Least $139,858.12 Because the
      Debtor Was Not in Existence in the Calendar Years 2012 through 2014.
       12.     NYCDF asserts it is entitled to a claim of $117,818.55 – plus $22,039.57 in

interest and penalties associated with the general corporation tax – (collectively, the total of

$139,858.12 shall be referred to as the “Previous Years Claim”), for the period of January 1,

2012 through December 31, 2014. The Debtor objects to the allowance of the Previous Years

Claim as the Debtor did not come into existence until April 2015. In support of this Objection,

attached as Exhibit B hereto is a true and correct copy of the Certificate of Formation of

Ponderosa Energy, LLC, reflecting that the Debtor did not come into existence until April 2015.

Accordingly, the Debtor requests that NYCDF’s Proof of Claim Amount be reduced by

$139,858.12.




                                                  4
17-13484-shl    Doc 101     Filed 06/25/18     Entered 06/25/18 15:49:46       Main Document
                                             Pg 5 of 40


   B. NYCDF’s Proof of Claim Should Be Reduced by $39,987.65 Because the Debtor Does
      Not Owe Any Corporation Tax.
       13.     NYCDF asserts it is entitled to a claim of $39,987.65 for a corporation tax (the

“Corporation Tax Claim”), for the period of January 1, 2015 through December 5, 2017. The

Debtor objects to the allowance of the Corporation Tax Claim as the Debtor is a limited liability

company, not a corporation. In support of this Objection, attached as Exhibit B hereto is the

Certificate of Formation of Ponderosa Energy, LLC, reflecting that the Debtor is a limited

liability company. Accordingly, the Debtor requests that NYCDF’s Proof of Claim Amount be

reduced by $39,987.65.

   C. NYCDF’s Proof of Claim Should Be Reduced by $167,443.43 Because the Debtor Does
      Not Owe Any Commercial Rent Tax.
       14.     NYCDF asserts it is entitled to a claim of $167,443.43 for commercial rent tax

(the “Rent Tax Claim”), for the period of January 1, 2012 through December 5, 2017. As

discussed supra at ¶ 12, the Debtor was not in existence prior to April 2015, and therefore does

not owe taxes on the portion of the Rent Tax Claim attributable to the period from January 1,

2012 through December 31, 2014. Additionally, the Debtor objects to the allowance of the Rent

Tax Claim because the tax applies only to tenants who rent space in certain areas of Manhattan

who pay an annual or annualized gross rent of at least $250,000. In support of this Objection,

attached as Exhibit C hereto are true and correct copies of the lease and lease renewals for the

Manhattan office space rented by the Debtor, which show that the annualized gross rent paid by

the Debtor did not exceed $73,200 (based on monthly payments of $6,100). Accordingly, the

Debtor requests that NYCDF’s Proof of Claim Amount be reduced by $167,443.43.

   D. NYCDF’s Proof of Claim Should Be Reduced by $91,768.24 Because the Debtor Does
      Not Owe Any Unincorporated Business Tax.
       15.     NYCDF asserts it is entitled to a claim of $91,768.24 for unincorporated business

tax (the “UBT Claim”), for the period of January 1, 2012 through December 5, 2017. As
                                                5
17-13484-shl    Doc 101      Filed 06/25/18     Entered 06/25/18 15:49:46        Main Document
                                              Pg 6 of 40


discussed supra at ¶ 12, the Debtor was not in existence prior to April 2015, and therefore does

not owe taxes on the portion of the UBT Claim attributable to the period from January 1, 2012

through December 31, 2014. Additionally, the Debtor objects to the allowance of the UBT

Claim because the Debtor is exempt from the tax pursuant to New York City Admin. Code §11-

502(c)(4) – that is, the Debtor is not deemed an unincorporated business because the Debtor is

primarily engaged in the purchase, holding and sale for its own account of real property.

Accordingly, the Debtor requests that NYCDF’s Proof of Claim Amount be reduced by

$91,768.24.

                                        CONCLUSION
       16.     NYCDF’s Proof of Claim should be denied completely because it includes claims

only for (A) amounts not owed by the Debtor since the Debtor was not in existence prior to April

2015; (B) amounts not owed by the Debtor since the Debtor is not a corporation; (C) amounts

not owed by the Debtor since the Debtor never paid annualized rent of $250,000 or more for

office space in Manhattan; and (4) amounts not owed by the Debtor since the Debtor is not an

unincorporated business pursuant to New York City Admin. Code §11-502(c)(4). The Debtor

therefore requests that the Proof of Claim amount be reduced in full and denied in its entirety.

                                     NO PRIOR REQUEST

       17.     No prior motion for the relief sought has been made in this or any other Court.

                                            NOTICE

       18.     Notice of this Motion has been provided to (i) the Office of the United States

Trustee for the Southern District of New York; (ii) counsel for claimant, the City of New York

Department of Finance; and (iii) all other parties required to receive notice of this Motion




                                                 6
17-13484-shl    Doc 101     Filed 06/25/18     Entered 06/25/18 15:49:46      Main Document
                                             Pg 7 of 40


pursuant to Bankruptcy Rule 2002. The Debtors submit that no other or further notice need be

provided.

     WHEREFORE, Debtor respectfully requests that this Court deny in its entirety the City of

New York Department of Finance’s Proof of Claim and provide further relief, at law or in equity,

as this Court deems just.

Dated: New York, New York
       June 25, 2018                                Respectfully submitted,


                                                    DIAMOND McCARTHY LLP

                                                    /s/ Charles M. Rubio
                                                    Charles M. Rubio
                                                    Christopher R. Murray
                                                    909 Fannin, Suite 3700
                                                    Houston, TX 77010
                                                    (713) 333-5100
                                                    crubio@diamondmccarthy.com
                                                    cmurray@diamondmccarthy.com

                                                    Allan B. Diamond
                                                    489 Fifth Avenue, 21st Floor
                                                    New York, NY 10017
                                                    (212) 430-5400
                                                    adiamond@diamondmccarthy.com
                                                    arosen@diamondmccarthy.com

                                                    Counsel to Debtors and
                                                    Debtors-In-Possession




                                                7
17-13484-shl   Doc 101   Filed 06/25/18     Entered 06/25/18 15:49:46   Main Document
                                          Pg 8 of 40




                              EXHIBIT	A
17-13484-shl   Doc
                17-13484-shl
                   101 Filed 06/25/18
                              Claim 13-1Entered
                                           Filed 06/25/18
                                                 05/29/18 15:49:46
                                                            Pg 1 of 2 Main Document
                                      Pg 9 of 40
17-13484-shl   Doc
                17-13484-shl
                   101 Filed 06/25/18
                              Claim 13-1Entered
                                           Filed 06/25/18
                                                 05/29/18 15:49:46
                                                            Pg 2 of 2 Main Document
                                     Pg 10 of 40
17-13484-shl   Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                       Pg 11 of 40




                              EXHIBIT	B
17-13484-shl   Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                       Pg 12 of 40
17-13484-shl   Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                       Pg 13 of 40




                              EXHIBIT	C
            17-13484-shl            Doc 101         Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                                  Pg 14 of 40




This Office Service Agreement (“Agreement”), dated June 23 2016, is between                                                             (“CW”) having
an address at 745 Fifth Avenue, Suite 500 New York, NY 10151 (the “Center”) and                                , a Delaware Limited Liability Company
(“Client”) having an address at 15 Valley Drive Greenwich, CT 08631.

In consideration of the covenants and fees set forth herein and subject to the Terms & Conditions attached hereto, CW shall grant Client a license
to use one or more offices in the Center (referred to herein as the “Office”), and the facilities and services of the Center (together with the Office,
sometimes collectively referred to herein as the “accommodation”), upon and subject to the terms set forth below.

The basic terms of this Agreement are as follows:




                3                       Exterior 537                   7/1/2016-9/30/2016                            5
                                                                                                                                             $5,800.00



                                                                                                                                             $5,800.00

                                 5 x multi-line handset with unlimited local and domestic LD usage, 5 x high speed internet connection, unlimited
                                 faxing, B&W copies , B&W prints and scans, lobby listing, access to Community Café with free gourmet coffee for
                                 office occupants and guests PLUS any additional a’la carte services listed above.


                                                                                                                                            $1,250.00
                                                                                                                                            $5,800.00
                                                                                                  TOTAL DUE AT SIGNING:                   $12,850.00


                                              5 x workstations, 5 x two-drawer pedestals and 5 x desk chairs
               :

                                              Finance




The following Terms & Conditions, the Center Rules and Regulations attached hereto, and any attached Addenda are incorporated into and made
a part of this Agreement and the parties hereto agree to be legally bound thereby.

                         , both parties have duly executed this Service / License Agreement as of the day and year indicated below.




By:    _________________________________________                                         By:       ______________________________________
Name: Gregg de los Reyes                                                                 Name:     Richard Sands
Title: General Manager                                                                   Title:    ______________________________________
          17-13484-shl               Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                 Main Document
                                                                    Pg 15 of 40

Date: ________________________________________                                              Date:      ______________________________________




     1.

          1.1.    This Agreement is the commercial equivalent of an Agreement for an accommodation in a hotel. The Center remains CW’s property
                  and in CW’s possession and control. Client acknowledges that this Agreement is a license agreement and creates no tenancy
                  interest, leasehold estate or other real property interest with respect to the accommodation and shall not be deemed or construed
                  in any way to create a partnership or relationship of landlord and tenant between the parties hereto. CLIENT HEREBY WAIVES
                  ANY AND ALL NOTICES TO CURE (EXCEPT AS EXPRESSLY SET FORTH IN SECTION 5.1 HEREOF), VACATE OR QUIT THE
                  OFFICE.
          1.2.    The Agreement is personal to Client and cannot be transferred or assigned to any other party, unless written request of such
                  assignment is submitted to CW and CW agrees to such assignment, which will be at our sole discretion, and Client will not permit
                  occupancy or use of any part of the Office or the Center by any persons other than Client, its agents and employees.
          1.3.    Subject to all Terms & Conditions, Center Rules and Regulations, Exhibits and any Addenda, CW is granting Client a license for
                  the use of the accommodations specified on the first page of this Agreement. All utilities, including any telephones and IT/data
                  connection(s) as outlined on the first page of this Agreement, shall be provided to the accommodation without additional expense
                  to Client. It is agreed that the Office is intended for the use of the total number of occupants listed on the first page of this Agreement.
                  Should Client increase the number of occupants without CW’s written approval, Client shall be charged additional fees as set forth
                  on the Services Price List (as amended from time to time).
          1.4.    This Agreement provides for Client’s exclusive use of the Office as outlined on the first page of this Agreement, and for the shared,
                  non-exclusive use of the common areas of the Center. When Client takes occupancy of the Office, CW will prepare an Inventory
                  List for Client to confirm receipt of keys and/or entry cards and the condition of the Office and furniture. CW will deliver the Office
                  and furniture in its “as is” condition at the commencement of the Agreement. CW makes no representations or warranties with respect
                  to the Office, the furniture or the Center. By taking possession of the Office, Client acknowledges that the Office and the furniture are
                  in good and satisfactory condition at the time of possession. If CW is unable to deliver possession of the Office at the commencement
                  of the Agreement for any reason, this Agreement and Client’s obligations hereunder will not be affected, except that Client shall not
                  be required to pay any sums until CW delivers possession of the Office to Client.
          1.5.    In the event the Center is no longer available and CW is permanently unable to provide the accommodations at the Center as stated
                  in this Agreement, this Agreement will end and Client will only be obligated to pay monthly fees up to the date this Agreement ends
                  and for the additional services Client has used. In such event, CW will try to find suitable alternative accommodations for Client at
                  another center.
          1.6.    CW will provide the number of serviced Office(s) in the Center for which Client has agreed to pay as stated in this Agreement. This
                  Agreement lists the specific Office(s) CW has initially allocated for Client’s use. CW may need to allocate different Office(s) of equal
                  size from time to time upon not less than 30 days prior notice to Client. CW will pay any reasonable expenses incurred in connection
                  with such relocation of Client’s property.
          1.7.    CW can enter Client’s Office at any time. However, unless there is an emergency CW will, as a matter of courtesy, inform Client
                  no less than 24 hours in advance either verbally or electronically when access is needed to the Office to carry out testing, repairing
                  or work other than routine inspection, cleaning and maintenance. CW will endeavor to respect reasonable security procedures to
                  protect the confidentiality of Client’s business.
          1.8.    Client, its agents, employees and invitees, agree to abide by and observe the rules and regulations of CW’s lease (the “Lease”) with
                  the owner of the building (“Landlord”) in which the Center is located. Client’s Agreement is subordinate to the Lease and to any
                  other agreements to which the Lease is subordinate. This Agreement terminates, if not earlier, simultaneously with the expiration
                  or sooner termination of the Lease for any reason. Client does not have any rights under the Lease (and all requests for building
                  services shall be directed solely to CW), although Client will attorn to Landlord in such cases as may be required by the terms of
                  the Lease or requested by CW or Landlord.
          1.9.    CW may assign this Agreement and Client agrees to accept any such assignee. Upon any such assignment, CW will be discharged
                  from all liability hereunder.
          1.10.   While this Agreement is in effect and for a period of six months after this Agreement ends, both parties agree not to solicit or offer
                  employment to any of the other’s current employees or anyone who has left either party’s employment in the last 90 days. In the
                  event that a breach of this covenant occurs, the breaching party agrees to pay, as liquidated damages, a sum of money equal to
                  100% of the employee’s annual wages for each such breach.
          1.11.   Client acknowledges and agrees that the terms of this Agreement and the relationship of the parties under this Agreement are
                  confidential. Neither party may disclose them without the other’s consent unless required to do so by law or an official authority. This
                  obligation continues after this Agreement ends.
          1.12.   All notices or other communications, except for service of process, must be in writing and shall be deemed duly given if delivered
                  in person, or by a nationally-recognized commercial delivery service.

     Client’s Initials________                                               Page 2
     17-13484-shl              Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                               Main Document
                                                              Pg 16 of 40

     1.13. This Agreement shall be interpreted under the laws of the jurisdiction in which the Center is located. CLIENT HEREBY EXPRESSLY
           AND KNOWINGLY WAIVES ANY AND ALL RIGHT TO A JURY TRIAL IN ANY ACTION OR SUIT ARISING OUT OF THIS
           AGREEMENT OR THE PERFORMANCE OR NON-PERFORMANCE HEREOF.
     1.14. Client must pay any reasonable and proper costs including legal fees that CW incurs in enforcing this Agreement.
     1.15. This Agreement supersedes any prior agreement and embodies the entire agreement between Client and CW. This Agreement is
           an arm’s length transaction between disinterested parties. There shall be no presumption of construction against the drafter of this
           Agreement.
     1.16. Client and CW acknowledge and agree that neither Landlord, nor Landlord’s agent, are parties to this Agreement and neither of
           them shall have any contractual liability or duty to Client by virtue of this Agreement, and that this Agreement shall not affect the
           rights and obligations between CW and Landlord.

2.

     2.1.    Client agrees to use and occupy the Office solely for general office purposes. Client will only conduct business in the name as stated
             on the first page of this Agreement or some other name that CW has previously approved in writing.
     2.2.    Client agrees to comply, at its expense, with all applicable laws, orders, regulations and rules, pertaining to the use and occupancy
             of the Office, and the conduct of Client’s business. Client must conduct its business so as not to interfere with the use of the Center
             by CW, its employees, the other clients of the Center, and the tenants of the Building and so as not to detract from the appearance
             of the Center. Client must comply with CW’s safety standards, with the Center Rules and Regulations attached hereto and the
             building’s rules and regulations (copies of which are on file in the Manager’s office). Client may not cause any nuisance or
             annoyance, cause the increase of insurance premiums CW has to pay, or cause loss or damage to CW (including damage to CW’s
             reputation) or to CW’s Landlord. Client acknowledges that (a) the terms of the this Section 2.2 are a material inducement in CW’s
             execution of the Agreement and (b) any violation by Client of this Section 2.2 shall constitute a material default by Client hereunder,
             entitling CW to terminate this Agreement without further notice or procedure.
     2.3.    Client agrees to pay promptly (i) all sales, use, excise, consumption and any other taxes and license fees which Client is required
             to pay to any governmental authority (and, at CW’s request, will provide evidence of such payment) and (ii) any taxes paid by CW
             to any governmental authority that are attributable to this Agreement, or the accommodations provided hereunder, including, without
             limitation, any gross receipts, rent and occupancy taxes, or tangible personal property taxes.
     2.4.    Client shall make no alterations or modifications in or to the Office, including, without limitation, affixing any signs or postings, and
             any door locks, without CW’s prior written consent (which CW may grant or withhold in its sole discretion). In the event that
             alterations or modifications are made without CW’s prior written consent, CW may, at CW’s option, correct or remove the same at
             Client’s sole cost and expense.
     2.5.    All keys and entry cards remain CW’s property and shall not be duplicated or transferred to third parties. The loss of keys or cards
             must immediately be reported to CW. Client will be responsible for the cost of lost keys or cards as well as the cost of changing
             locks.
     2.6.    Client may not have any advertising of any type using the address of the Center without CW’s prior written consent (which CW may
             grant or withhold in its sole discretion). Use of the address on business cards, websites, and other standard business practices are
             acceptable without written consent.
     2.7.    Client acknowledges that CW will comply with the USPS regulations regarding Client’s mail. Client must also comply with all USPS
             regulations. Failure to comply will result in immediate termination of this Agreement.
     2.8.    Client shall not, without CW’s prior written consent (which CW may grant or withhold in its sole discretion), store or operate any
             computer equipment (except personal computer equipment) or any other large business machines, reproduction equipment, heating
             equipment, stove, mechanical amplification equipment, vending or coin-operated machines, refrigerator or coffee equipment.
     2.9.    Client may not install any cabling, IT or telecom connections without CW’s prior written consent (which CW may grant or withhold
             in its sole discretion). As a condition of CW consent, Client will permit CW to oversee any installations (for example, IT or electrical
             systems) to verify that such installations do not interfere with the use of the Center by CW, other clients or Landlord. CW’s consent
             may also be conditioned upon the payment of additional fees for installation and/or usage of such cabling, and/or the requirement
             that the Client remove the cabling, etc. All cables in the ceiling or walls of the Center shall become CW’s property.
     2.10.   The electrical current shall be used for ordinary lighting, powering personal computer equipment and small appliances only. If Client
             requires any special installation or wiring for electrical use, telephone equipment or otherwise, such wiring shall be done with CW’s
             prior written approval, at Client’s sole expense by a company approved by CW. Client shall not install or operate any equipment or
             machinery that requires a separate electrical circuit or consumes higher than normal and reasonable quantities of electricity.




Client’s Initials________                                             Page 3
     17-13484-shl             Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                               Main Document
                                                             Pg 17 of 40

     3.1. All Total Monthly Fixed Fees stated on the first page of this Agreement shall remain in effect throughout the initial term, or one year
          from the date of this Agreement, whichever period is shorter. Thereafter, the Monthly Office Charge will be adjusted by the
          percentage outlined in the section entitled “Term and Commencement of Services” on the first page of this Agreement.
     3.2. All Total Monthly Fixed Fees are due in advance on the first calendar day of each month for the duration of this Agreement. All
          payments shall be made without deduction, offset or counterclaim. Fees for additional services are due on the first calendar day of
          the month after submission of the invoice to Client for additional services rendered through the 15 th day (or such other period) of
          the previous month.
     3.3. Upon Client’s request to CW, during normal business hours, CW may provide additional services that are not included within the
          Monthly Office Charge or the Monthly Service Charge. The fee schedule for additional services is available upon request and may
          be updated at any time without notice. Client agrees to pay all charges listed on the first page of this Agreement as well as any
          additional services rendered. CW (and CW’s designated vendors) is the only authorized service providers in the Center. If Client
          defaults under this Agreement, CW may cease providing any services to Client without resorting to legal process.
     3.4. A late payment charge equal to 10% of the arrearage shall be due and payable if payment is not received by CW by the 5 th day of
          the month. The amount of the late payment charge shall be the lesser of the amount stated or the highest amount permitted by
          law. In the event that Client’s check is not honored because of insufficient funds, Client will pay CW a $100 fee in addition to all
          other remedies. In the event that Client’s credit card is not honored, Client will pay a $50 fee in addition to all other remedies. A
          dishonor of Client’s check or credit card more than two (2) times during the term of this Agreement shall be an immediate event of
          default for which no additional notice or cure period shall be required.
     3.5. If Client benefited from a special discount, promotion or offer, it was for the initial term only, and CW may discontinue that discount,
            promotion or offer without notice if Client defaults under this Agreement.
     3.6. Client is required to pay a service retainer equivalent to the amount stated on the first page of this Agreement. No interest will be
            paid on the retainer. This retainer will be held by CW as security for performance of all Client’s obligations under this Agreement.
            If Client fails to perform any of its obligations under this Agreement, CW may apply Client’s retainer to the balance due CW and
            any expenses or liabilities incurred by CW and Client agrees to replenish any portion CW applies. CW may increase the amount
            of Client’s retainer if Client is in arrears in the payment of invoices. The retainer or any balance, after deducting outstanding fees,
            restoration fees and other costs due to CW, will be returned to Client after Client have settled its account to the address Client has
            provided to CW. In the event no address has been provided and any portion of Client’s retainer is not claimed after 120 days, it
            will be automatically forfeited to CW.

4.                                     :

     4.1.   Client is responsible for ensuring that Client has adequate protection against viruses through the use of its own virus protection on its
            systems and hardware, and Client is expected to keep the software current with the latest virus definition files.
     4.2.   Client is prohibited from engaging in any violations of system or network security. Internet access may not be used in connection
            with attempts – whether or not successful – to violate the security of a network, service or other system. Examples of prohibited
            activities include, without limitation: hacking, cracking into, monitoring or using systems without authorization, scanning ports,
            conducting denial of service attacks, and distributing viruses or other harmful software. CW may disconnect Client’s equipment and
            withhold services if CW determines that Client’s hardware or software is, or has become, inappropriate for connection to CW’s network
            or otherwise violates this provision.
     4.3.   Staff time spent on prohibited activities or policy violations can be initiated at Client’s expense on an emergency basis without
            Client’s permission and without an estimate or limit. CW will make a good faith effort to minimize the amount of billable time CW
            spends on an emergency basis. If CW is diagnosing a problem reported by another customer and find that the problem is caused by
            Client, Client will be billed for the time spent diagnosing that problem.
     4.4.   Client agrees not to perform any illegal or inappropriate uses identified by CW’s network administrator.
     4.5.   Client’s IT equipment or host servers can be co-located within CW’s data room (as space permits) at a monthly fee per device.
            Client agrees to coordinate the removal of its IT equipment from the data room upon termination or expiration of this Agreement.
            Access to equipment that is co-located in CW’s IT room is available during normal business hours. For security reasons, an
            employee or IT staff person of CW must supervise Client while Client is in CW’s IT room and applicable charges will apply.
     4.6.   If Client uses excessive amounts of bandwidth or abuses the use of the shared network, Client will be notified and additional charges
            for high bandwidth usage will apply.
     4.7.   Client may connect Wireless Access Points to the network jacks in Client’s Office upon CW’s prior approval but such Wireless
            Access Points may not be used primarily as a means to circumvent network jack charges. Additional fees may apply.
     4.8.   Internet connectivity provided cannot be used for VoIP service without CW’s prior written approval.



5.                                         :



Client’s Initials________                                            Page 4
     17-13484-shl              Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                Main Document
                                                              Pg 18 of 40

     5.1.    CW may terminate this Agreement immediately by giving Client notice and without need to follow any additional procedures if: (a)
             Client becomes insolvent, bankrupt, goes into liquidation or becomes unable to pay its debts as they become due, or (b) Client is in
             breach of one of Client’s obligations under this Agreement which cannot be cured or which CW has given Client notice to cure and
             which Client has failed to cure within five (5) days of such notice, or (c) Client’s conduct or that of someone at the Center, with
             Client’s permission or invitation, is incompatible with ordinary office use.
     5.2.    CW shall have the right to terminate the Agreement immediately if Client is or becomes (i) identified on the Specially Designated
             Nationals and Blocked Person List maintained by the U.S. Department of the Treasury Office of Foreign Assets Control or any
             similar list or (ii) a person, entity, or government with whom a citizen of the United States is prohibited from engaging in transactions
             by any trade embargo, economic sanction, or other prohibition of United States law, regulation or Executive order of the President
             of the United States.
     5.3.    If CW terminates the Agreement for any of the reasons described in the immediately preceding paragraphs, Client shall remain
             responsible for its outstanding obligations under this Agreement. Client may, in addition to any other obligations contained herein,
             be required to:
                    Pay for additional services Client has used;
                    Pay the Monthly Office Charge for the remainder of the period for which Client’s agreement would have lasted had CW not
                    ended it, or for a further period of three months, whichever is longer; and,
                    Forfeit Client’s Retainer.
             In such event, CW may also take possession of the Office.
     5.4.    A waiver by either CW or Client of a breach (or series of breaches) of any covenant or obligation under this Agreement of the other
             party shall not be construed to be a waiver of any other covenant or obligation or of any subsequent breach of the same covenant
             or obligation. Notwithstanding the CW’s reservation of any particular remedy hereunder, CW hereby reserves each and every
             remedy available at law or in equity in the event of a breach by Client hereunder.
     5.5.    Client agrees that if Client is in default under any agreement with CW or any of its affiliates at any center other than the one specified
             on the front page of this Agreement, CW may recover any unpaid sums due under such other agreement from Client under this
             Agreement, and that CW may, in particular (but is not limited to), withhold services under this Agreement or deduct sums from the
             service retainer held under this Agreement in respect of such unpaid sums.
     5.6.    Upon the expiration or termination of the Agreement, Client’s right to occupy the Office and use the Center is revoked and Client will
             remove all of its property and return the Office and furniture in the same condition in which it was delivered to Client, subject to
             reasonable wear and tear. Any personal property left in the Office will be considered abandoned and CW may dispose of it without
             any liability to Client. All telephone and facsimile numbers are CW’s property and cannot be transferred to Client at the expiration
             or termination of the Agreement.
     5.7.    Upon Client’s departure or if Client, at Client’s option (with CW’s prior approval), desires to relocate to a different Office within the
             Center, in addition to any amounts payable hereunder, a flat fee of $400 per Office will be assessed for standard office restoration
             and services disconnections. CW reserves the right to charge additional reasonable fees for any repairs above and beyond normal
             wear and tear.
     5.8.    For a period of 30 days after the termination of this Agreement, CW will forward Client’s mail to an address provided in writing by
             Client at no charge, other than the postage + a 25% handling fee, and shall place a recorded message on Client’s telephone line
             providing Client’s new telephone number, as provided by Client in writing to CW, at no charge, other than a one-time set-up fee of
             $15.00. Thereafter, CW shall have no obligation whatsoever to forward mail to Client or provide phone service unless Client enters
             into a “recorded message” or “mail only” program pursuant to a separate agreement. In the event Client does not (i) provide CW
             with a forwarding address and/or new telephone number upon the expiration or earlier termination of this Agreement, or (ii) enter
             into a “recorded message” and/or “mail only” program after the expiration of the above-referenced 30-day period, then Client agrees
             that within five business days after the termination of this Agreement, Client will cease using, advertising and/or disseminating the
             telephone number and/or permanent business address CW provided to Client or CW will immediately demand a fee of $100.00 per
             week until Client ceases using such telephone number and/or permanent business address. The terms of this section shall survive
             the expiration or earlier termination of this Agreement. Other than as set forth in this Section 5.7, Client releases CW from any
             liability arising or incurred in connection with any mail or packages received on Client’s behalf.
     5.9.    If Client continues to occupy the Office after this Agreement has ended, Client will be responsible for any loss, claim or liability CW
             incur as a result of Client’s failure to vacate on time. CW may, at CW’s discretion, permit Client an extension subject to a surcharge
             on the Monthly Office Charge.
     5.10.   If the Center is made unusable in whole or in part by fire or other casualty or condemnation, CW may, at CW’s option, either
             terminate this Agreement upon notice to Client, or repair the Center. In such event, the Monthly Fees shall be abated on a per diem
             basis with respect to the portions of the accommodations that are unusable or not provided, which will be Client’s sole remedy.




     6.1.    To the maximum extent permitted by applicable law, CW is not liable to Client in respect of any loss or damage Client suffers in
             connection with this Agreement or in connection with the services or the accommodations unless CW has acted deliberately or
Client’s Initials________                                              Page 5
     17-13484-shl             Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                               Main Document
                                                             Pg 19 of 40

            negligently in causing that loss or damage. CW is not liable for any loss or damage as a result of CW’s failure to provide any service
            under this Agreement as a result of mechanical breakdown, strike, termination of CW’s Lease, or otherwise, unless CW does so
            deliberately or is negligent in connection therewith. In no event will CW be liable for any loss or damage until Client provides CW
            with written notice and gives CW reasonable time to cure. If CW is liable for failing to provide Client with any service under this
            Agreement, then subject to Section 6.2 below, CW will pay any actual and reasonable expenses Client incurred in obtaining that
            service from an alternative source up to a maximum equal to 125% of the total fees paid between the date Client executes this
            Agreement and the date on which the claim in question arises, or $100,000, whichever is higher. If Client believes CW has failed
            to deliver a service consistent with this Agreement, Client can provide CW written notice of such failure and give CW a reasonable
            period of time to cure such failure.
     6.2.   CW WILL NOT UNDER ANY CIRCUMSTANCES HAVE ANY LIABILITY FOR LOSS OF BUSINESS, LOSS OF PROFITS, LOSS
            OF ANTICIPATED SAVINGS, LOSS OF OR DAMAGE TO DATA OR ANY CONSEQUENTIAL DAMAGES.
     6.3.   Client assumes all risk of loss with respect to Client’s personal property and Client’s agents, employees and invitees within the
            Center or the building. During the term of this Agreement, Client will maintain with a respectable insurer licensed to do business in
            the state and subject to CW’s approval (a) all risk property insurance covering Client’s property and (b) comprehensive general liability
            insurance of no less than $1,000,000, with CW, the Landlord and any other parties designated by CW named as additional insured.
            Client will deliver certificates of insurance to CW evidencing such coverage prior to the commencement of this Agreement and any
            expiration date of such policy.
     6.4.   To the extent that the party sustaining a loss by fire or other casualty to its property is compensated by insurance, CW and Client
            will each waive all rights of recovery against the other party and no third party shall have any right of recovery.
     6.5.   Notwithstanding any term to the contrary, CW shall not be held liable to Client under this Agreement if CW is prevented from, or
            delayed in, performing CW’s obligations under this Agreement or from carrying on CW’s business by acts, events, omission or
            accidents beyond CW’s reasonable control, including (without limitation): strikes, failure of a utility service or network; act of God,
            war, riot, civil commotion, disease or quarantine restrictions in compliance with any law or governmental rule, regulation or direction,
            accident, fire, floor or storm or default of suppliers or subcontractors. CW’s obligation to perform its obligations under this Agreement
            shall be suspended during the period required to remove such force majeure event.
     6.6.   To the fullest extent permitted by law, Client agrees to hold CW, its agents, employees, contractors, officers, directors and Landlord
            harmless from and against any and all claims of loss, costs, liability and expense, including reasonable attorneys’ fees and
            disbursements (the “Claims”), arising from or alleged to arise from (a) any default by Client hereunder, (b) the use or occupancy of
            the Center by Client or any person claiming under Client, (c) Client’s negligence or the negligence of Client’s agents, employees,
            contractors, officers or directors, except to the extent such Claim results from CW’s gross negligence or willful misconduct. To the
            fullest extent permitted by law, CW agrees to hold Client, its agents, employees, contractors, officers and directors harmless from and
            against any and all Claims arising from or alleged to arise from CW’s negligence or the negligence of CW’s agents, employees,
            contractors, officers or directors, except to the extent such Claim results from Client’s gross negligence or willful misconduct, and
            excluding any damage or loss to personal property of Client. The foregoing indemnifications shall survive the expiration or termination
            of the Agreement.




Client’s Initials________                                            Page 6
     17-13484-shl           Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                           Pg 20 of 40




     Client agrees to comply with the following Center Rules and Regulations:
     1. Noise levels shall be conducive to a professional environment and shall not interfere with or disturb other clients.
     2. Neither Client nor its employees, agents, representatives or invitees shall participate in any type of harassing or disruptive behavior,
          whether verbal or physical, in the Center or within the building.
     3. Client and Client’s guests shall conduct themselves in a businesslike manner.
     4. Canvassing, soliciting and peddling in the Center or building are prohibited and Client shall not solicit other clients for any business
          or other purpose without CW prior written approval.
     5. Professional attire must be worn at all times.
     6. Cell phone use is not permitted in the halls, reception area, cafés, or any other common area.
     7. Common areas, including the conference rooms, kitchen and reception area, are for the use of all clients. Client is required to leave
          these areas clean after each use. Client is responsible for their own dishes and disposal of garbage.
     8. Client is prohibited from conducting meetings in any common areas, cafes, or vacant offices, other than reserved conference rooms
          or day offices.
     9. The café cannot be used as a substitute or additional office or workstation for Client or Client’s guests. Working in the café for more
          than 10 hours per month is prohibited. This courtesy is only extended at your home center.
     10. All corridors, halls, elevators & stairways shall not be obstructed or used for any purpose other than normal egress and ingress.
     11. Plumbing, fixtures and appliances shall be used only for the purposes for which designed, and no sweepings, rubbish, rags or other
          unsuitable material shall be thrown or deposited therein. Damage resulting to any fixtures or appliances from misuse by Client or
          its agents, employees or invitees, shall be paid by Client.
     12. Client must not conduct a mechanical business, do any cooking, or use or allow the following to be used: oil burning fluids, gasoline,
          kerosene for heating, warming or lighting. No article deemed hazardous on account of fire or any explosive shall be brought in the
          Center. No offensive gases, odors or liquids are permitted.
     13. Movement in or out of the building of furniture, office equipment, bulky material, merchandise or materials which require use of
          elevators or stairways, or movement through the Building entrances or lobby, will be conducted under CW’s supervision at such
          times and in such a manner as CW may reasonably require. Client is liable for all damages including the articles moved, CW’s
          equipment & property, and injury to anyone engaged or not engaged in such movement, including CW personnel.
     14. Before leaving the office unattended, Client will close and securely lock all doors. Any damage resulting from failure to do so will
          be paid by Client.
     15. No advertisement, identifying signs, personal items or artwork or other notices shall be inscribed, painted or affixed on any part of
          the corridors, doors, office windows, common areas or cubicles without CW prior written approval.
     16. Client cannot prop open any corridor doors, exit doors or doors connecting corridors during or after business hours.
     17. Client cannot modify existing locks or install additional locks or bolts of any kind on any of the doors or windows of any offices or
          within the Center.
     18. CW is not responsible for lost or stolen personal property, money or jewelry from Client’s office or public or common areas regardless
          of whether such loss occurs when the area is locked against entry or not.
     19. Client will not conduct any activity within the Center or building, which in CW’s sole judgment or the judgment of Landlord, will create
          excessive traffic or is inappropriate to a shared office environment.
     20. If Client occupies a cubicle(s) in view of any common areas, Client is required to keep the areas clear. All boxes and filing cabinets
          should be stored in an orderly fashion and out of view of the common area.
     21. This is a non-smoking facility and smoking is prohibited everywhere within the Center.
     22. No alcoholic beverages are permitted on the premises, without CW’s prior approval.
     23. Conference Room hours included on the first page of your Agreement are for use at you home center, and can be used on occasion
          at other centers within the CW portfolio. No free hours can be used in any Manhattan location and a you may only use up to 50%
          of your free monthly hours in CW San Francisco locations. Restrictions apply to the type of rooms available for use. Please check
          with a team member prior to booking for clarification
     24. Illegal firearms and weapons are prohibited.

CW has no responsibility to Client for the violation or non-performance by any other clients of any of these Rules and Regulations or the
Terms & Conditions, but shall use reasonable efforts to uniformly enforce all Rules and Regulations and Terms & Conditions.




Client’s Initials________                                         Page 7
     17-13484-shl           Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                                    Pg 21 of 40




1.




2.




3.


4.



5.




Client’s Initials________                          Page 8
            17-13484-shl          Doc 101            Filed 06/25/18 Entered 06/25/18 15:49:46                         Main Document
                                                                   Pg 22 of 40



                                          OFFICE SERVICE AGREEMENT
                                                   December 15 2016, is between PBC 745 Fifth Avenue, LLC (dba Carr Workplaces)
having an address at 745 Fifth Avenue, Suite 500 New York, NY 10151                  Ponderosa Energy LLC, a Delaware Limited Liability
Company,                                15 Valley Drive Greenwich, CT 06831.

In consideration of the covenants and fees set forth herein and subject to the Terms & Conditions attached hereto, CW shall grant Client a license
                                                                                                                        (together with the Office,
                                                                                   ct to the terms set forth below.

The basic terms of this Agreement are as follows:

INITIAL TERM, OFFICE & MONTHLY CHARGES:

        Agreement Term
                                    Office Numbers:                    Start & End Dates:                  # of Occupants
           (months):
              3                        Exterior 537                    1/1/2017-3/31/2017                       5
                                                                                                      Monthly Office Charges:           $6,100.00
            # Ala carte service (please specify):               Quantity          Unit Rate (mo):                                        Monthly
                                                                                                                                          Service
                                                                                                                                         Charge:
                                                                                                    Total Monthly Fixed Fees: 1         $6,100.00

      Monthly Office Charge     5 x multi-line handset with unlimited local and domestic LD usage, 5 x high speed internet connection, unlimited
           includes:            faxing, B&W copies , B&W prints and scans, lobby listing, access to Community Café with free gourmet coffee for


                                                                  SUMMARY OF FEES
                                                                                               Setup Fees @ $0 per/occupant:                 $0.00
                                                    Retainer @ 1 x Monthly Office Charge ($6100 required less $5800 on file):              $300.00
                                                                                               TOTAL DUE AT SIGNING:                  $6,400.00
                                                            1 Any applicable state or local sales taxes will be reflected on each monthly invoice



   Description of any included              5 x workstations, 5 x two-drawer pedestals and 5 x desk chairs
   furnishings:

                                            Finance

   Term and Commencement of Services: This Agreement commences and expires on the dates specified above.

The following Terms & Conditions, the Center Rules and Regulations attached hereto, and any attached Addenda are incorporated into and made
a part of this Agreement and the parties hereto agree to be legally bound thereby.

IN WITNESS WHEREOF, both parties have duly executed this Service / License Agreement as of the day and year indicated below.

PBC 745 Fifth Avenue, LLC, dba Carr Workplaces                                         Ponderosa Energy LLC
By: Preferred Group, LLC, its authorized agent

By:     _________________________________________                                      By:       ______________________________________
Name: Gregg de los Reyes                                                               Name:     Richard Sands
Title: General Manager                                                                 Title:    ______________________________________
Date: ________________________________________                                         Date:     ______________________________________




                                                                                                                                    Rev 7.15.13 SF
     17-13484-shl               Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                  Main Document
                                                               Pg 23 of 40


                                                        TERMS & CONDITIONS
1.   NATURE OF THE AGREEMENT:

     1.1.                                                                                                                                                y

             interest, leasehold estate or other real property interest with respect to the accommodation and shall not be deemed or construed
             in any way to create a partnership or relationship of landlord and tenant between the parties hereto. CLIENT HEREBY WAIVES
             ANY AND ALL NOTICES TO CURE (EXCEPT AS EXPRESSLY SET FORTH IN SECTION 5.1 HEREOF), VACATE OR QUIT THE
             OFFICE.
     1.2.    The Agreement is personal to Client and cannot be transferred or assigned to any other party, unless written request of such
             assignment is submitted to CW and CW agrees to such assignment, which will be at our sole discretion, and Client will not permit
             occupancy or use of any part of the Office or the Center by any persons other than Client, its agents and employees.
     1.3.    Subject to all Terms & Conditions, Center Rules and Regulations, Exhibits and any Addenda, CW is granting Client a license for
             the use of the accommodations specified on the first page of this Agreement. All utilities, including any telephones and IT/data
             connection(s) as outlined on the first page of this Agreement, shall be provided to the accommodation without additional expense
             to Client. It is agreed that the Office is intended for the use of the total number of occupants listed on the first page of this Agreement.
             Should Client increase
             on the Services Price List (as amended from time to time).
     1.4.                                                                                                                                          shared,
             non-exclusive use of the common areas of the Center. When Client takes occupancy of the Office, CW will prepare an Inventory
             List for Client to confirm receipt of keys and/or entry cards and the condition of the Office and furniture. CW will deliver the Office
                                                                                                                                        nties with respect
             to the Office, the furniture or the Center. By taking possession of the Office, Client acknowledges that the Office and the furniture are
             in good and satisfactory condition at the time of possession. If CW is unable to deliver possession of the Office at the commencement
                                                                                             hereunder will not be affected, except that Client shall not
             be required to pay any sums until CW delivers possession of the Office to Client.
     1.5.    In the event the Center is no longer available and CW is permanently unable to provide the accommodations at the Center as stated
             in this Agreement, this Agreement will end and Client will only be obligated to pay monthly fees up to the date this Agreement ends
             and for the additional services Client has used. In such event, CW will try to find suitable alternative accommodations for Client at
             another center.
     1.6.    CW will provide the number of serviced Office(s) in the Center for which Client has agreed to pay as stated in this Agreement. This
                                                                                                                                               (s) of equal
             size from time to time upon not less than 30 days prior notice to Client. CW will pay any reasonable expenses incurred in connection

     1.7.                                                                                                                                       ent
             no less than 24 hours in advance either verbally or electronically when access is needed to the Office to carry out testing, repairing
             or work other than routine inspection, cleaning and maintenance. CW will endeavor to respect reasonable security procedures to
             protect the confidentialit
     1.8.
                                                                                                                    rdinate to the Lease and to any
             other agreements to which the Lease is subordinate. This Agreement terminates, if not earlier, simultaneously with the expiration
             or sooner termination of the Lease for any reason. Client does not have any rights under the Lease (and all requests for building
             services shall be directed solely to CW), although Client will attorn to Landlord in such cases as may be required by the terms of
             the Lease or requested by CW or Landlord.
     1.9.    CW may assign this Agreement and Client agrees to accept any such assignee. Upon any such assignment, CW will be discharged
             from all liability hereunder.
     1.10.   While this Agreement is in effect and for a period of six months after this Agreement ends, both parties agree not to solicit or offer
             employment
             event that a breach of this covenant occurs, the breaching party agrees to pay, as liquidated damages, a sum of money equal to
             100% of the
     1.11.   Client acknowledges and agrees that the terms of this Agreement and the relationship of the parties under this Agreement are
                                                                                                  uired to do so by law or an official authority. This
             obligation continues after this Agreement ends.
     1.12.   All notices or other communications, except for service of process, must be in writing and shall be deemed duly given if delivered
             in person, or by a nationally-recognized commercial delivery service.
     1.13.   This Agreement shall be interpreted under the laws of the jurisdiction in which the Center is located. CLIENT HEREBY EXPRESSLY
             AND KNOWINGLY WAIVES ANY AND ALL RIGHT TO A JURY TRIAL IN ANY ACTION OR SUIT ARISING OUT OF THIS
             AGREEMENT OR THE PERFORMANCE OR NON-PERFORMANCE HEREOF.
                                                                        Page 2                                                             Rev 11.13.14 SF
     17-13484-shl              Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                              Pg 24 of 40

     1.14.   Client must pay any reasonable and proper costs including legal fees that CW incurs in enforcing this Agreement.
     1.15.   This Agreement supersedes any prior agreement and embodies the entire agreement between Client and CW. This Agreement is
                                                                                                                               of this
             Agreement.
     1.16.
             them shall have any contractual liability or duty to Client by virtue of this Agreement, and that this Agreement shall not affect the
             rights and obligations between CW and Landlord.

2.   USE AND OCCUPANCY:

     2.1. Client agrees to use and occupy the Office solely for general office purposes. Client will only conduct business in the name as stated
          on the first page of this Agreement or some other name that CW has previously approved in writing.
     2.2. Client agrees to comply, at its expense, with all applicable laws, orders, regulations and rules, pertaining to the use and occupancy
                                                                                                                                      the Center
          by CW, its employees, the other clients of the Center, and the tenants of the Building and so as not to detract from the appearance

             buil

          reputation)
          execution of the Agreement and (b) any violation by Client of this Section 2.2 shall constitute a material default by Client hereunder,
          entitling CW to terminate this Agreement without further notice or procedure.
     2.3. Client agrees to pay promptly (i) all sales, use, excise, consumption and any other taxes and license fees which Client is required
          to pay to any governmental authority (and, a
          to any governmental authority that are attributable to this Agreement, or the accommodations provided hereunder, including, without
          limitation, any gross receipts, rent and occupancy taxes, or tangible personal property taxes.
     2.4. Client shall make no alterations or modifications in or to the Office, including, without limitation, affixing any signs or postings, and
                                                                                 ay grant or withhold in its sole discretion). In the event that
                                                                                                                                                  at

     2.5.    All keys and entry cards remain
             must immediately be reported to CW. Client will be responsible for the cost of lost keys or cards as well as the cost of changing
             locks.
     2.6.    Client may not ha
             grant or withhold in its sole discretion). Use of the address on business cards, websites, and other standard business practices are
             acceptable without written consent.
     2.7.                                                                                                                                     USPS
             regulations. Failure to comply will result in immediate termination of this Agreement.
     2.8.    Client shall
             computer equipment (except personal computer equipment) or any other large business machines, reproduction equipment, heating
             equipment, stove, mechanical amplification equipment, vending or coin-operated machines, refrigerator or coffee equipment.
     2.9.                                                                                                                                         old
             in its sole discretion). As a condition of CW consent, Client will permit CW to oversee any installations (for example, IT or electrical
                                                                                                                                          s consent
             may also be conditioned upon the payment of additional fees for installation and/or usage of such cabling, and/or the requirement

     2.10.   The electrical current shall be used for ordinary lighting, powering personal computer equipment and small appliances only. If Client
             requires any special installation or wiring for electrical use, telephone equipment or otherwise, such wiring shall be done w
                                                                                                                                            ent or
             machinery that requires a separate electrical circuit or consumes higher than normal and reasonable quantities of electricity.



3.   FEES & SERVICES

     3.1. All Total Monthly Fixed Fees stated on the first page of this Agreement shall remain in effect throughout the initial term, or one year
          from the date of this Agreement, whichever period is shorter. Thereafter, the Monthly Office Charge will be adjusted by the

     3.2. All Total Monthly Fixed Fees are due in advance on the first calendar day of each month for the duration of this Agreement. All
          payments shall be made without deduction, offset or counterclaim. Fees for additional services are due on the first calendar day of
                                                                      Page 3                                                         Rev 11.13.14 SF
     17-13484-shl              Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                Main Document
                                                              Pg 25 of 40

            the month after submission of the invoice to Client for additional services rendered through the 15 th day (or such other period) of
            the previous month.
     3.3.                                                                                                                                            e
            Monthly Office Charge or the Monthly Service Charge. The fee schedule for additional services is available upon request and may
            be updated at any time without notice. Client agrees to pay all charges listed on the first page of this Agreement as well as any
                                                                                              y authorized service providers in the Center. If Client
            defaults under this Agreement, CW may cease providing any services to Client without resorting to legal process.
     3.4.   A late payment charge equal to 10% of the arrearage shall be due and payable if payment is not received by CW by the 5 th day of
            the month. The amount of the late payment charge shall be the lesser of the amount stated or the highest amount permitted by
                                                                                                         ent will pay CW a $100 fee in addition to all
                                                                                                                                            edies. A
                                                                                           e term of this Agreement shall be an immediate event of
            default for which no additional notice or cure period shall be required.
     3.5.   If Client benefited from a special discount, promotion or offer, it was for the initial term only, and CW may discontinue that discount,
              promotion or offer without notice if Client defaults under this Agreement.
     3.6.   Client is required to pay a service retainer equivalent to the amount stated on the first page of this Agreement. No interest will be
              paid on the retainer. This retainer
                                                                                                                                                 and
              any expenses or liabilities incurred by CW and Client agrees to replenish any portion CW applies. CW may increase the amount
                                                                                                                                         nding fees,
              restoration fees and other costs due to CW, will be returned to Client after Client have settled its account to the address Client has
                                                                                                                                                   , it
              will be automatically forfeited to CW.

4.   IT SERVICES AND SUPPORT:

     4.1. Client is responsible for ensuring that Client has adequate protection against viruses through the use of its own virus protection on its
          systems and hardware, and Client is expected to keep the software current with the latest virus definition files.
     4.2. Client is prohibited from engaging in any violations of system or network security. Internet access may not be used in connection
          with attempts whether or not successful to violate the security of a network, service or other system. Examples of prohibited
          activities include, without limitation: hacking, cracking into, monitoring or using systems without authorization, scanning ports,
                                                                                                                                            nt and
          withhold services if
          or otherwise violates this provision.
     4.3.                                                                                                               emergency basis without
                                                                    CW will make a good faith effort to minimize the amount of billable time CW
          spends on an emergency basis. If CW is diagnosing a problem reported by another customer and find that the problem is caused by
          Client, Client will be billed for the time spent diagnosing that problem.
     4.4.
     4.5.                                                     -l
            Client agrees to coordinate the removal of its IT equipment from the data room upon termination or expiration of this Agreement.
            Access to equipment that is co-                       room is available during normal business hours. For security reasons, an

     4.6.   If Client uses excessive amounts of bandwidth or abuses the use of the shared network, Client will be notified and additional charges
            for high bandwidth usage will apply.
     4.7.
            Access Points may not be used primarily as a means to circumvent network jack charges. Additional fees may apply.
     4.8.




5.   DEFAULT AND TERMINATION:

     5.1.   CW may terminate this Agreement immediately by giving Client notice and without need to follow any additional procedures if: (a)
            Client becomes insolvent, bankrupt, goes into liquidation or becomes unable to pay its debts as they become due, or (b) Client is in
            breach of one of
                                                                                                                                         , with
                      rmission or invitation, is incompatible with ordinary office use.


                                                                      Page 4                                                           Rev 11.13.14 SF
     17-13484-shl               Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                 Main Document
                                                               Pg 26 of 40

     5.2. CW shall have the right to terminate the Agreement immediately if Client is or becomes (i) identified on the Specially Designated
          Nationals and Blocked Person List maintained by the U.S. Department of the Treasury Office of Foreign Assets Control or any
          similar list or (ii) a person, entity, or government with whom a citizen of the United States is prohibited from engaging in transactions
          by any trade embargo, economic sanction, or other prohibition of United States law, regulation or Executive order of the President
          of the United States.
     5.3. If CW terminates the Agreement for any of the reasons described in the immediately preceding paragraphs, Client shall remain
          responsible for its outstanding obligations under this Agreement. Client may, in addition to any other obligations contained herein,
          be required to:
               Pay for additional services Client has used;
                                                                                                                        uld have lasted had CW not
               ended it, or for a further period of three months, whichever is longer; and,

             In such event, CW may also take possession of the Office.
     5.4.    A waiver by either CW or Client of a breach (or series of breaches) of any covenant or obligation under this Agreement of the other
             party shall not be construed to be a waiver of any other covenant or obligation or of any subsequent breach of the same covenant
                                                                              particular remedy hereunder, CW hereby reserves each and every
             remedy available at law or in equity in the event of a breach by Client hereunder.
     5.5.    Client agrees that if Client is in default under any agreement with CW or any of its affiliates at any center other than the one specified
             on the front page of this Agreement, CW may recover any unpaid sums due under such other agreement from Client under this
             Agreement, and that CW may, in particular (but is not limited to), withhold services under this Agreement or deduct sums from the
             service retainer held under this Agreement in respect of such unpaid sums.
     5.6.                                                                                                                                        ient will
             remove all of its property and return the Office and furniture in the same condition in which it was delivered to Client, subject to
             reasonable wear and tear. Any personal property left in the Office will be considered abandoned and CW may dispose of it without
             any liability
             or termination of the Agreement.
     5.7.                                                                                                             te to a different Office within the
             Center, in addition to any amounts payable hereunder, a flat fee of $400 per Office will be assessed for standard office restoration
             and services disconnections. CW reserves the right to charge additional reasonable fees for any repairs above and beyond normal
             wear and tear.
     5.8.                                                                                                                                          ing by
             Client at no charge, other than the postage + a 25% handling fee, an
                                                                                                                                     -time set-up fee of
             $15.00. Thereafter, CW shall have no obligation whatsoever to forward mail to Client or provide phone service unless Client enters
                                                                                                                                                       W
             with a forwarding address and/or new telephone number upon the expiration or earlier termination of this Agreement, or (ii) enter
                                                                                                         -referenced 30-day period, then Client agrees
             that within five business days after the termination of this Agreement, Client will cease using, advertising and/or disseminating the
             telephone number and/or permanent business address CW provided to Client or CW will immediately demand a fee of $100.00 per
             week until Client ceases using such telephone number and/or permanent business address. The terms of this section shall survive
             the expiration or earlier termination of this Agreement. Other than as set forth in this Section 5.7, Client releases CW from any
             liability arising or incurred in connection with an
     5.9.    If Client continues to occupy the Office after this Agreement has ended, Client will be responsible for any loss, claim or liability CW
                                                                                      s discretion, permit Client an extension subject to a surcharge
             on the Monthly Office Charge.
     5.10.
             terminate this Agreement upon notice to Client, or repair the Center. In such event, the Monthly Fees shall be abated on a per diem
                                                                                                                                           y.



6.   LIABILITY:

     6.1.    To the maximum extent permitted by applicable law, CW is not liable to Client in respect of any loss or damage Client suffers in
             connection with this Agreement or in connection with the services or the accommodations unless CW has acted deliberately or
             negligently in cau

             deliberately or is negligent in connection therewith. In no event will CW be liable for any loss or damage until Client provides CW
             with written notice and gives CW reasonable time to cure. If CW is liable for failing to provide Client with any service under this
             Agreement, then subject to Section 6.2 below, CW will pay any actual and reasonable expenses Client incurred in obtaining that
                                                                        Page 5                                                            Rev 11.13.14 SF
17-13484-shl            Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                               Main Document
                                                       Pg 27 of 40

     service from an alternative source up to a maximum equal to 125% of the total fees paid between the date Client executes this
     Agreement and the date on which the claim in question arises, or $100,000, whichever is higher. If Client believes CW has failed
     to deliver a service consistent with this Agreement, Client can provide CW written notice of such failure and give CW a reasonable
     period of time to cure such failure.
6.2. CW WILL NOT UNDER ANY CIRCUMSTANCES HAVE ANY LIABILITY FOR LOSS OF BUSINESS, LOSS OF PROFITS, LOSS
     OF ANTICIPATED SAVINGS, LOSS OF OR DAMAGE TO DATA OR ANY CONSEQUENTIAL DAMAGES.
6.3. Client assumes all risk of loss with re
     Center or the building. During the term of this Agreement, Client will maintain with a respectable insurer licensed to do business in

     insurance of no less than $1,000,000, with CW, the Landlord and any other parties designated by CW named as additional insured.
     Client will deliver certificates of insurance to CW evidencing such coverage prior to the commencement of this Agreement and any
     expiration date of such policy.
6.4. To the extent that the party sustaining a loss by fire or other casualty to its property is compensated by insurance, CW and Client
     will each waive all rights of recovery against the other party and no third party shall have any right of recovery.
6.5. Notwithstanding any term to the contrary, CW shall not be held liable to Client under this Agreement if CW is prevented from, or

                                                                                                                                   act of God,
     war, riot, civil commotion, disease or quarantine restrictions in compliance with any law or governmental rule, regulation or direction,
                                                                                                             bligations under this Agreement
     shall be suspended during the period required to remove such force majeure event.
6.6. To the fullest extent permitted by law, Client agrees to hold CW, its agents, employees, contractors, officers, directors and Landlord
     harmle
                                                                                                                                       ancy of
     the                                                                                                                                      ,
                                                                                                                                        To the
     fullest extent permitted by law, CW agrees to hold Client, its agents, employees, contractors, officers and directors harmless from and
                                                                                                                                  employees,
                                                                                                                                      uct, and
     excluding any damage or loss to personal property of Client. The foregoing indemnifications shall survive the expiration or termination
     of the Agreement.




                                                               Page 6                                                          Rev 11.13.14 SF
    17-13484-shl           Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                          Pg 28 of 40


                                           Center Rules and Regulations
    Client agrees to comply with the following Center Rules and Regulations:
    1. Noise levels shall be conducive to a professional environment and shall not interfere with or disturb other clients.
    2. Neither Client nor its employees, agents, representatives or invitees shall participate in any type of harassing or disruptive behavior,
         whether verbal or physical, in the Center or within the building.
    3.
    4. Canvassing, soliciting and peddling in the Center or building are prohibited and Client shall not solicit other clients for any business
         or other purpose without CW prior written approval.
    5. Professional attire must be worn at all times.
    6. Cell phone use is not permitted in the halls, reception area, cafés, or any other common area.
    7. Common areas, including the conference rooms, kitchen and reception area, are for the use of all clients. Client is required to leave
         these areas clean after each use. Client is responsible for their own dishes and disposal of garbage.
    8. Client is prohibited from conducting meetings in any common areas, cafes, or vacant offices, other than reserved conference rooms
         or day offices.
    9.                                                                                                                               fé for more
         than 10 hours per month is prohibited. This courtesy is only extended at your home center.
    10. All corridors, halls, elevators & stairways shall not be obstructed or used for any purpose other than normal egress and ingress.
    11. Plumbing, fixtures and appliances shall be used only for the purposes for which designed, and no sweepings, rubbish, rags or other
         unsuitable material shall be thrown or deposited therein. Damage resulting to any fixtures or appliances from misuse by Client or
         its agents, employees or invitees, shall be paid by Client.
    12. Client must not conduct a mechanical business, do any cooking, or use or allow the following to be used: oil burning fluids, gasoline,
         kerosene for heating, warming or lighting. No article deemed hazardous on account of fire or any explosive shall be brought in the
         Center. No offensive gases, odors or liquids are permitted.
    13. Movement in or out of the building of furniture, office equipment, bulky material, merchandise or materials which require use of
         elevators or stairways, or movement through the

        equipment & property, and injury to anyone engaged or not engaged in such movement, including CW personnel.
    14. Before leaving the office unattended, Client will close and securely lock all doors. Any damage resulting from failure to do so will
        be paid by Client.
    15. No advertisement, identifying signs, personal items or artwork or other notices shall be inscribed, painted or affixed on any part of
        the corridors, doors, office windows, common areas or cubicles without CW prior written approval.
    16. Client cannot prop open any corridor doors, exit doors or doors connecting corridors during or after business hours.
    17. Client cannot modify existing locks or install additional locks or bolts of any kind on any of the doors or windows of any offices or
        within the Center.
    18. CW is not responsible for lost or stolen personal proper
        of whether such loss occurs when the area is locked against entry or not.
    19.                                                                                                      judgment of Landlord, will create
        excessive traffic or is inappropriate to a shared office environment.
    20. If Client occupies a cubicle(s) in view of any common areas, Client is required to keep the areas clear. All boxes and filing cabinets
        should be stored in an orderly fashion and out of view of the common area.
    21. This is a non-smoking facility and smoking is prohibited everywhere within the Center.
    22.
    23. Conference Room hours included on the first page of your Agreement are for use at you home center, and can be used on occasion
        at other centers within the CW portfolio. No free hours can be used in any Manhattan location and a you may only use up to 50%
        of your free monthly hours in CW San Francisco locations. Restrictions apply to the type of rooms available for use. Please check
        with a team member prior to booking for clarification
    24. Illegal firearms and weapons are prohibited.

CW has no responsibility to Client for the violation or non-performance by any other clients of any of these Rules and Regulations or the
Terms & Conditions, but shall use reasonable efforts to uniformly enforce all Rules and Regulations and Terms & Conditions.




                                                                 Page 7                                                         Rev 11.13.14 SF
     17-13484-shl   Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                            Pg 29 of 40




                                       GUARANTY




1.




2.




3.


4.



5.




                                           Page 8                                 Rev 11.14.14
            17-13484-shl           Doc 101         Filed 06/25/18 Entered 06/25/18 15:49:46                          Main Document
                                                                 Pg 30 of 40



                                                                      ADDENDUM
              This Addendum dated December 15, 2016 shall be attached to and form a part of the Office Service Agreement dated
        December 15, 2016 by and between, PBC 745 Fifth Avenue, LLC,                                     Ponderosa Energy LLC


                 The following are additional provisions and/or modifications to the foregoing and annexed Office Service Agreement. In the
        event of any inconsistency between the provisions of this Addendum and the provisions of the foregoing and annexed Office Service
        Agreement, the provisions of this Addendum shall prevail. Except as otherwise defined herein, all capitalized terms shall have the
        same meaning as set forth in the Office Service Agreement.

                   Reduction in service retainer
                   The Retainer will be equal to one times the fixed monthly fees, for a total of $6100. However, if any monthly payment
                   by Client is received past the due date, an additional one month retainer will be required immediately and will be
                   retained for the duration of the Agreement.




        IN WITNESS WHEREOF, both parties have executed this instrument by the proper persons duly authorized to do so on the day and year indicated below.

PBC 745 Fifth Avenue, LLC, dba Carr Workplaces                                        Ponderosa Energy LLC
By: Preferred Group, LLC, its authorized agent


By:                                                                                   By:
Name: Gregg de los Reyes                                                              Name:     Richard Sands
Title: General Manager                                                                Title:
Date:                                                                                 Date:




                                                                                                                                            Rev 3.1.2015
            17-13484-shl          Doc 101           Filed 06/25/18 Entered 06/25/18 15:49:46                         Main Document
                                                                  Pg 31 of 40



                                          OFFICE SERVICE AGREEMENT
                                                  March 29 2017, is between PBC 745 Fifth Avenue, LLC (dba Carr Workplaces)
an address at 745 Fifth Avenue, Suite 500 New York, NY 10151                  Ponderosa Energy LLC, a Delaware Limited Liability Company,
                              15 Valley Drive Greenwich, CT 06831.

In consideration of the covenants and fees set forth herein and subject to the Terms & Conditions attached hereto, CW shall grant Client a license
                                                                                                                        (together with the Office,
                                                                                   ct to the terms set forth below.

The basic terms of this Agreement are as follows:

INITIAL TERM, OFFICE & MONTHLY CHARGES:

        Agreement Term
                                    Office Numbers:                  Start & End Dates:                   # of Occupants
           (months):
              6                        Exterior 537                  4/1/2017-9/30/2017                        5
                                                                                                     Monthly Office Charges:            $6,100.00
            # Ala carte service (please specify):             Quantity           Unit Rate (mo):                                         Monthly
                                                                                                                                          Service
                                                                                                                                         Charge:
                                                                                                   Total Monthly Fixed Fees: 1          $6,100.00

      Monthly Office Charge     5 x multi-line handset with unlimited local and domestic LD usage, 5 x high speed internet connection, unlimited
           includes:            faxing, B&W copies , B&W prints and scans, lobby listing, access to Community Café with free gourmet coffee for


                                                               SUMMARY OF FEES
                                                                                            Setup Fees @ $0 per/occupant:                 $0.00
                                                                     Retainer @ 1 x Monthly Office Charge ($6100 on file):                $0.00
                                                                                            TOTAL DUE AT SIGNING:                  $6,100.00
                                                         1 Any applicable state or local sales taxes will be reflected on each monthly invoice



   Description of any included              5 x workstations, 5 x two-drawer pedestals and 5 x desk chairs
   furnishings:

                                            Finance

  Term and Commencement of Services: This Agreement commences and expires on the dates specified above. This Agreement will be
  automatically extended for consecutive periods of the same duration as the initial term, at an adjustment of 10% of the Month ly Office
  Charge, unless and until terminated by either party by delivery of written notice of expiration at least 2 calendar months prior to the date
  scheduled for expiration of the Agreement, so that the Agreement will end upon the last day of a calendar month.

The following Terms & Conditions, the Center Rules and Regulations attached hereto, and any attached Addenda are incorporated into and made
a part of this Agreement and the parties hereto agree to be legally bound thereby.

IN WITNESS WHEREOF, both parties have duly executed this Service / License Agreement as of the day and year indicated below.

PBC 745 Fifth Avenue, LLC, dba Carr Workplaces                                        Ponderosa Energy LLC
By: Preferred Group, LLC, its authorized agent

By:     _________________________________________                                     By:       ______________________________________
Name: Gregg de los Reyes                                                              Name:     Richard Sands
Title: General Manager                                                                Title:    ______________________________________
Date: ________________________________________                                        Date:     ______________________________________

                                                                                                                                    Rev 7.15.13 SF
     17-13484-shl               Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                 Main Document
                                                               Pg 32 of 40


TERMS & CONDITIONS
1.   NATURE OF THE AGREEMENT:

     1.1.    This Agreement is the

             interest, leasehold estate or other real property interest with respect to the accommodation and shall not be deemed or construed
             in any way to create a partnership or relationship of landlord and tenant between the parties hereto. CLIENT HEREBY WAIVES
             ANY AND ALL NOTICES TO CURE (EXCEPT AS EXPRESSLY SET FORTH IN SECTION 5.1 HEREOF), VACATE OR QUIT THE
             OFFICE.
     1.2.    The Agreement is personal to Client and cannot be transferred or assigned to any other party, unless written request of such
             assignment is submitted to CW and CW agrees to such assignment, which will be at our sole discretion, and Client will not permit
             occupancy or use of any part of the Office or the Center by any persons other than Client, its agents and employees.
     1.3.    Subject to all Terms & Conditions, Center Rules and Regulations, Exhibits and any Addenda, CW is granting Client a license for
             the use of the accommodations specified on the first page of this Agreement. All utilities, including any telephones and IT/data
             connection(s) as outlined on the first page of this Agreement, shall be provided to the accommodation without additional expense
             to Client. It is agreed that the Office is intended for the use of the total number of occupants listed on the first page of this Agreement.
             Should Client increase the number of occupan
             on the Services Price List (as amended from time to time).
     1.4.                                                                                                                          nt, and for the shared,
             non-exclusive use of the common areas of the Center. When Client takes occupancy of the Office, CW will prepare an Inventory
             List for Client to confirm receipt of keys and/or entry cards and the condition of the Office and furniture. CW will deliver the Office
                                                                                                                                                   respect
             to the Office, the furniture or the Center. By taking possession of the Office, Client acknowledges that the Office and the furniture are
             in good and satisfactory condition at the time of possession. If CW is unable to deliver possession of the Office at the commencement
                                                                                             hereunder will not be affected, except that Client shall not
             be required to pay any sums until CW delivers possession of the Office to Client.
     1.5.    In the event the Center is no longer available and CW is permanently unable to provide the accommodations at the Center as stated
             in this Agreement, this Agreement will end and Client will only be obligated to pay monthly fees up to the date this Agreement ends
             and for the additional services Client has used. In such event, CW will try to find suitable alternative accommodations for Client at
             another center.
     1.6.    CW will provide the number of serviced Office(s) in the Center for which Client has agreed to pay as stated in this Agreement. This
             Agreement lists the specific Office(s) CW has initially allocated for Cli
             size from time to time upon not less than 30 days prior notice to Client. CW will pay any reasonable expenses incurred in connection

     1.7.    CW can enter C
             no less than 24 hours in advance either verbally or electronically when access is needed to the Office to carry out testing, repairing
             or work other than routine inspection, cleaning and maintenance. CW will endeavor to respect reasonable security procedures to

     1.8.    Client, its agents, employees and invitees, agree to abide by and observe the rules
                                                                                                                                             any
           other agreements to which the Lease is subordinate. This Agreement terminates, if not earlier, simultaneously with the expiration
           or sooner termination of the Lease for any reason. Client does not have any rights under the Lease (and all requests for building
           services shall be directed solely to CW), although Client will attorn to Landlord in such cases as may be required by the terms of
           the Lease or requested by CW or Landlord.
     1.9. CW may assign this Agreement and Client agrees to accept any such assignee. Upon any such assignment, CW will be discharged
           from all liability hereunder.
     1.10. While this Agreement is in effect and for a period of six months after this Agreement ends, both parties agree not to solicit or offer
                                                                                                                                         . In the
           event that a breach of this covenant occurs, the breaching party agrees to pay, as liquidated damages, a sum of money equal to

     1.11. Client acknowledges and agrees that the terms of this Agreement and the relationship of the parties under this Agreement are
                                                                                                                                   ority. This
           obligation continues after this Agreement ends.
     1.12. All notices or other communications, except for service of process, must be in writing and shall be deemed duly given if delivered
           in person, or by a nationally-recognized commercial delivery service.


                                                                        Page 2                                                            Rev 11.13.14 SF
     17-13484-shl              Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                              Pg 33 of 40

     1.13. This Agreement shall be interpreted under the laws of the jurisdiction in which the Center is located. CLIENT HEREBY EXPRESSLY
           AND KNOWINGLY WAIVES ANY AND ALL RIGHT TO A JURY TRIAL IN ANY ACTION OR SUIT ARISING OUT OF THIS
           AGREEMENT OR THE PERFORMANCE OR NON-PERFORMANCE HEREOF.
     1.14. Client must pay any reasonable and proper costs including legal fees that CW incurs in enforcing this Agreement.
     1.15. This Agreement supersedes any prior agreement and embodies the entire agreement between Client and CW. This Agreement is
                                                             parties. There shall be no presumption of construction against the drafter of this
           Agreement.
     1.16.
             them shall have any contractual liability or duty to Client by virtue of this Agreement, and that this Agreement shall not affect the
             rights and obligations between CW and Landlord.

2.   USE AND OCCUPANCY:

     2.1. Client agrees to use and occupy the Office solely for general office purposes. Client will only conduct business in the name as stated
          on the first page of this Agreement or some other name that CW has previously approved in writing.
     2.2. Client agrees to comply, at its expense, with all applicable laws, orders, regulations and rules, pertaining to the use and occupancy
                                                                                                                                      the Center
          by CW, its employees, the other clients of the Center, and the tenants of the Building and so as not to detract from the appearance

             buil

          reputation)
          execution of the Agreement and (b) any violation by Client of this Section 2.2 shall constitute a material default by Client hereunder,
          entitling CW to terminate this Agreement without further notice or procedure.
     2.3. Client agrees to pay promptly (i) all sales, use, excise, consumption and any other taxes and license fees which Client is required
          to pay to any governmental authority (and, a
          to any governmental authority that are attributable to this Agreement, or the accommodations provided hereunder, including, without
          limitation, any gross receipts, rent and occupancy taxes, or tangible personal property taxes.
     2.4. Client shall make no alterations or modifications in or to the Office, including, without limitation, affixing any signs or postings, and
                                                                                 ay grant or withhold in its sole discretion). In the event that
                                                                                                                                                  at

     2.5.    All keys and entry cards remain
             must immediately be reported to CW. Client will be responsible for the cost of lost keys or cards as well as the cost of changing
             locks.
     2.6.    Client may not ha
             grant or withhold in its sole discretion). Use of the address on business cards, websites, and other standard business practices are
             acceptable without written consent.
     2.7.                                                                                                                                     USPS
             regulations. Failure to comply will result in immediate termination of this Agreement.
     2.8.    Client shall
             computer equipment (except personal computer equipment) or any other large business machines, reproduction equipment, heating
             equipment, stove, mechanical amplification equipment, vending or coin-operated machines, refrigerator or coffee equipment.
     2.9.                                                                                                                                         old
             in its sole discretion). As a condition of CW consent, Client will permit CW to oversee any installations (for example, IT or electrical
                                                                                                                                          s consent
             may also be conditioned upon the payment of additional fees for installation and/or usage of such cabling, and/or the requirement

     2.10.   The electrical current shall be used for ordinary lighting, powering personal computer equipment and small appliances only. If Client
             requires any special installation or wiring for electrical use, telephone equipment or otherwise, such wiring shall be do
                                                                                                                                            ent or
             machinery that requires a separate electrical circuit or consumes higher than normal and reasonable quantities of electricity.



3.   FEES & SERVICES




                                                                      Page 3                                                         Rev 11.13.14 SF
     17-13484-shl             Doc 101         Filed 06/25/18 Entered 06/25/18 15:49:46                                 Main Document
                                                            Pg 34 of 40

     3.1. All Total Monthly Fixed Fees stated on the first page of this Agreement shall remain in effect throughout the initial term, or one year
          from the date of this Agreement, whichever period is shorter. Thereafter, the Monthly Office Charge will be adjusted by the

     3.2. All Total Monthly Fixed Fees are due in advance on the first calendar day of each month for the duration of this Agreement. All
          payments shall be made without deduction, offset or counterclaim. Fees for additional services are due on the first calendar day of
          the month after submission of the invoice to Client for additional services rendered through the 15 th day (or such other period) of
          the previous month.
     3.3.                                                                                                                                           e
          Monthly Office Charge or the Monthly Service Charge. The fee schedule for additional services is available upon request and may
          be updated at any time without notice. Client agrees to pay all charges listed on the first page of this Agreement as well as any
                                                                                         only authorized service providers in the Center. If Client
          defaults under this Agreement, CW may cease providing any services to Client without resorting to legal process.
     3.4. A late payment charge equal to 10% of the arrearage shall be due and payable if payment is not received by CW by the 5 th day of
          the month. The amount of the late payment charge shall be the lesser of the amount stated or the highest amount permitted by
                                                                                                     Client will pay CW a $100 fee in addition to all
                                                                                                                                           edies. A
                                                                                     g the term of this Agreement shall be an immediate event of
          default for which no additional notice or cure period shall be required.
     3.5. If Client benefited from a special discount, promotion or offer, it was for the initial term only, and CW may discontinue that discount,
            promotion or offer without notice if Client defaults under this Agreement.
     3.6. Client is required to pay a service retainer equivalent to the amount stated on the first page of this Agreement. No interest will be
            paid on the retainer. This
                                                                                                                                                and
            any expenses or liabilities incurred by CW and Client agrees to replenish any portion CW applies. CW may increase the amount
                                                                                                                                        nding fees,
            restoration fees and other costs due to CW, will be returned to Client after Client have settled its account to the address Client has
                                                                                                                                                  , it
            will be automatically forfeited to CW.

4.   IT SERVICES AND SUPPORT:

     4.1. Client is responsible for ensuring that Client has adequate protection against viruses through the use of its own virus protection on its
          systems and hardware, and Client is expected to keep the software current with the latest virus definition files.
     4.2. Client is prohibited from engaging in any violations of system or network security. Internet access may not be used in connection
          with attempts whether or not successful to violate the security of a network, service or other system. Examples of prohibited
          activities include, without limitation: hacking, cracking into, monitoring or using systems without authorization, scanning ports,
                                                                                                                                            nt and
          withhold services if
          or otherwise violates this provision.
     4.3.                                                                                                               emergency basis without
                                                                    CW will make a good faith effort to minimize the amount of billable time CW
          spends on an emergency basis. If CW is diagnosing a problem reported by another customer and find that the problem is caused by
          Client, Client will be billed for the time spent diagnosing that problem.
     4.4.
     4.5.                                                     -l
            Client agrees to coordinate the removal of its IT equipment from the data room upon termination or expiration of this Agreement.
            Access to equipment that is co-                       room is available during normal business hours. For security reasons, an

     4.6.   If Client uses excessive amounts of bandwidth or abuses the use of the shared network, Client will be notified and additional charges
            for high bandwidth usage will apply.
     4.7.
            Access Points may not be used primarily as a means to circumvent network jack charges. Additional fees may apply.
     4.8.




5.   DEFAULT AND TERMINATION:



                                                                     Page 4                                                           Rev 11.13.14 SF
     17-13484-shl               Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                                 Main Document
                                                               Pg 35 of 40

     5.1. CW may terminate this Agreement immediately by giving Client notice and without need to follow any additional procedures if: (a)
          Client becomes insolvent, bankrupt, goes into liquidation or becomes unable to pay its debts as they become due, or (b) Client is in
          breach of one of
                                                                                                                                              , with
                       rmission or invitation, is incompatible with ordinary office use.
     5.2. CW shall have the right to terminate the Agreement immediately if Client is or becomes (i) identified on the Specially Designated
          Nationals and Blocked Person List maintained by the U.S. Department of the Treasury Office of Foreign Assets Control or any
          similar list or (ii) a person, entity, or government with whom a citizen of the United States is prohibited from engaging in transactions
          by any trade embargo, economic sanction, or other prohibition of United States law, regulation or Executive order of the President
          of the United States.
     5.3. If CW terminates the Agreement for any of the reasons described in the immediately preceding paragraphs, Client shall remain
          responsible for its outstanding obligations under this Agreement. Client may, in addition to any other obligations contained herein,
          be required to:
               Pay for additional services Client has used;
                                                                                                                        uld have lasted had CW not
               ended it, or for a further period of three months, whichever is longer; and,

             In such event, CW may also take possession of the Office.
     5.4.    A waiver by either CW or Client of a breach (or series of breaches) of any covenant or obligation under this Agreement of the other
             party shall not be construed to be a waiver of any other covenant or obligation or of any subsequent breach of the same covenant
                                                                              particular remedy hereunder, CW hereby reserves each and every
             remedy available at law or in equity in the event of a breach by Client hereunder.
     5.5.    Client agrees that if Client is in default under any agreement with CW or any of its affiliates at any center other than the one specified
             on the front page of this Agreement, CW may recover any unpaid sums due under such other agreement from Client under this
             Agreement, and that CW may, in particular (but is not limited to), withhold services under this Agreement or deduct sums from the
             service retainer held under this Agreement in respect of such unpaid sums.
     5.6.                                                                                                                                        ient will
             remove all of its property and return the Office and furniture in the same condition in which it was delivered to Client, subject to
             reasonable wear and tear. Any personal property left in the Office will be considered abandoned and CW may dispose of it without
             any liability
             or termination of the Agreement.
     5.7.                                                                                                             te to a different Office within the
             Center, in addition to any amounts payable hereunder, a flat fee of $600 per Office will be assessed for standard office restoration
             and services disconnections. CW reserves the right to charge additional reasonable fees for any repairs above and beyond normal
             wear and tear.
     5.8.                                                                                                                                          ing by
             Client at no charge, other than the postage + a 25% handling fee, an
                                                                                                                                     -time set-up fee of
             $15.00. Thereafter, CW shall have no obligation whatsoever to forward mail to Client or provide phone service unless Client enters
                                                                                                                                                       W
             with a forwarding address and/or new telephone number upon the expiration or earlier termination of this Agreement, or (ii) enter
                                                                                                         -referenced 30-day period, then Client agrees
             that within five business days after the termination of this Agreement, Client will cease using, advertising and/or disseminating the
             telephone number and/or permanent business address CW provided to Client or CW will immediately demand a fee of $100.00 per
             week until Client ceases using such telephone number and/or permanent business address. The terms of this section shall survive
             the expiration or earlier termination of this Agreement. Other than as set forth in this Section 5.7, Client releases CW from any
             liability arising or incurred in connection with an
     5.9.    If Client continues to occupy the Office after this Agreement has ended, Client will be responsible for any loss, claim or liability CW
                                                                                      s discretion, permit Client an extension subject to a surcharge
             on the Monthly Office Charge.
     5.10.
             terminate this Agreement upon notice to Client, or repair the Center. In such event, the Monthly Fees shall be abated on a per diem
                                                                                                                                           y.



6.   LIABILITY:

     6.1.    To the maximum extent permitted by applicable law, CW is not liable to Client in respect of any loss or damage Client suffers in
             connection with this Agreement or in connection with the services or the accommodations unless CW has acted deliberately or
                                                                        Page 5                                                            Rev 11.13.14 SF
17-13484-shl             Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                        Pg 36 of 40

       neg                                                                                                                           service
                                                                                                                                           o
       deliberately or is negligent in connection therewith. In no event will CW be liable for any loss or damage until Client provides CW
       with written notice and gives CW reasonable time to cure. If CW is liable for failing to provide Client with any service under this
       Agreement, then subject to Section 6.2 below, CW will pay any actual and reasonable expenses Client incurred in obtaining that
       service from an alternative source up to a maximum equal to 125% of the total fees paid between the date Client executes this
       Agreement and the date on which the claim in question arises, or $100,000, whichever is higher. If Client believes CW has failed
       to deliver a service consistent with this Agreement, Client can provide CW written notice of such failure and give CW a reasonable
       period of time to cure such failure.
6.2.   CW WILL NOT UNDER ANY CIRCUMSTANCES HAVE ANY LIABILITY FOR LOSS OF BUSINESS, LOSS OF PROFITS, LOSS
       OF ANTICIPATED SAVINGS, LOSS OF OR DAMAGE TO DATA OR ANY CONSEQUENTIAL DAMAGES.
6.3.   Client assumes all risk
       Center or the building. During the term of this Agreement, Client will maintain with a respectable insurer licensed to do business in
       the state and s
       insurance of no less than $1,000,000, with CW, the Landlord and any other parties designated by CW named as additional insured.
       Client will deliver certificates of insurance to CW evidencing such coverage prior to the commencement of this Agreement and any
       expiration date of such policy.
6.4.   To the extent that the party sustaining a loss by fire or other casualty to its property is compensated by insurance, CW and Client
       will each waive all rights of recovery against the other party and no third party shall have any right of recovery.
6.5.   Notwithstanding any term to the contrary, CW shall not be held liable to Client under this Agreement if CW is prevented from, or

                                                                                                                   ce or network; act of God,
     war, riot, civil commotion, disease or quarantine restrictions in compliance with any law or governmental rule, regulation or direction,
                                                                                              o perform its obligations under this Agreement
     shall be suspended during the period required to remove such force majeure event.
6.6. To the fullest extent permitted by law, Client agrees to hold CW, its agents, employees, contractors, officers, directors and Landlord

                                                                                                                                    cupancy of
                                                                                                                                         yees,
                                                                                                                           misconduct. To the
       fullest extent permitted by law, CW agrees to hold Client, its agents, employees, contractors, officers and directors harmless from and

                                                                                                                                      uct, and
       excluding any damage or loss to personal property of Client. The foregoing indemnifications shall survive the expiration or termination
       of the Agreement.




                                                               Page 6                                                         Rev 11.13.14 SF
    17-13484-shl           Doc 101          Filed 06/25/18 Entered 06/25/18 15:49:46                              Main Document
                                                          Pg 37 of 40


                                           Center Rules and Regulations
    Client agrees to comply with the following Center Rules and Regulations:
    1. Noise levels shall be conducive to a professional environment and shall not interfere with or disturb other clients.
    2. Neither Client nor its employees, agents, representatives or invitees shall participate in any type of harassing or disruptive behavior,
         whether verbal or physical, in the Center or within the building.
    3.
    4. Canvassing, soliciting and peddling in the Center or building are prohibited and Client shall not solicit other clients for any business
         or other purpose without CW prior written approval.
    5. Professional attire must be worn at all times.
    6. Cell phone use is not permitted in the halls, reception area, cafés, or any other common area.
    7. Common areas, including the conference rooms, kitchen and reception area, are for the use of all clients. Client is required to leave
         these areas clean after each use. Client is responsible for their own dishes and disposal of garbage.
    8. Client is prohibited from conducting meetings in any common areas, cafes, or vacant offices, other than reserved conference rooms
         or day offices.
    9.                                                                                                                               fé for more
         than 10 hours per month is prohibited. This courtesy is only extended at your home center.
    10. All corridors, halls, elevators & stairways shall not be obstructed or used for any purpose other than normal egress and ingress.
    11. Plumbing, fixtures and appliances shall be used only for the purposes for which designed, and no sweepings, rubbish, rags or other
         unsuitable material shall be thrown or deposited therein. Damage resulting to any fixtures or appliances from misuse by Client or
         its agents, employees or invitees, shall be paid by Client.
    12. Client must not conduct a mechanical business, do any cooking, or use or allow the following to be used: oil burning fluids, gasoline,
         kerosene for heating, warming or lighting. No article deemed hazardous on account of fire or any explosive shall be brought in the
         Center. No offensive gases, odors or liquids are permitted.
    13. Movement in or out of the building of furniture, office equipment, bulky material, merchandise or materials which require use of
         elevators or stairways, or movement through the

        equipment & property, and injury to anyone engaged or not engaged in such movement, including CW personnel.
    14. Before leaving the office unattended, Client will close and securely lock all doors. Any damage resulting from failure to do so will
        be paid by Client.
    15. No advertisement, identifying signs, personal items or artwork or other notices shall be inscribed, painted or affixed on any part of
        the corridors, doors, office windows, common areas or cubicles without CW prior written approval.
    16. Client cannot prop open any corridor doors, exit doors or doors connecting corridors during or after business hours.
    17. Client cannot modify existing locks or install additional locks or bolts of any kind on any of the doors or windows of any offices or
        within the Center.
    18. CW is not responsible for lost or stolen personal proper
        of whether such loss occurs when the area is locked against entry or not.
    19.                                                                                                      judgment of Landlord, will create
        excessive traffic or is inappropriate to a shared office environment.
    20. If Client occupies a cubicle(s) in view of any common areas, Client is required to keep the areas clear. All boxes and filing cabinets
        should be stored in an orderly fashion and out of view of the common area.
    21. This is a non-smoking facility and smoking is prohibited everywhere within the Center.
    22.
    23. Conference Room hours included on the first page of your Agreement are for use at you home center, and can be used on occasion
        at other centers within the CW portfolio. No free hours can be used in any Manhattan location and a you may only use up to 50%
        of your free monthly hours in CW San Francisco locations. Restrictions apply to the type of rooms available for use. Please check
        with a team member prior to booking for clarification
    24. Illegal firearms and weapons are prohibited.

CW has no responsibility to Client for the violation or non-performance by any other clients of any of these Rules and Regulations or the
Terms & Conditions, but shall use reasonable efforts to uniformly enforce all Rules and Regulations and Terms & Conditions.




                                                                 Page 7                                                         Rev 11.13.14 SF
     17-13484-shl   Doc 101   Filed 06/25/18 Entered 06/25/18 15:49:46   Main Document
                                            Pg 38 of 40




                                       GUARANTY




1.




2.




3.


4.



5.




                                           Page 8                                 Rev 11.14.14
            17-13484-shl           Doc 101         Filed 06/25/18 Entered 06/25/18 15:49:46                          Main Document
                                                                 Pg 39 of 40



                                                                      ADDENDUM
                This Addendum dated March 29, 2017 shall be attached to and form a part of the Office Service Agreement dated March 29,
        2017 by and between, PBC 745 Fifth Avenue, LLC,                                       Ponderosa Energy LLC

                 The following are additional provisions and/or modifications to the foregoing and annexed Office Service Agreement. In the
        event of any inconsistency between the provisions of this Addendum and the provisions of the foregoing and annexed Office Service
        Agreement, the provisions of this Addendum shall prevail. Except as otherwise defined herein, all capitalized terms shall have the
        same meaning as set forth in the Office Service Agreement.

                   Reduction in service retainer
                   The Retainer will be equal to one times the fixed monthly fees, for a total of $6100. However, if any monthly payment
                   by Client is received past the due date, an additional one month retainer will be required immediately and will be
                   retained for the duration of the Agreement.




        IN WITNESS WHEREOF, both parties have executed this instrument by the proper persons duly authorized to do so on the day and year indicated below.

PBC 745 Fifth Avenue, LLC, dba Carr Workplaces                                        Ponderosa Energy LLC
By: Preferred Group, LLC, its authorized agent


By:                                                                                   By:
Name: Gregg de los Reyes                                                              Name:     Richard Sands
Title: General Manager                                                                Title:
Date:                                                                                 Date:




                                                                                                                                            Rev 3.1.2015
    17-13484-shl       Doc 101       Filed 06/25/18 Entered 06/25/18 15:49:46                 Main Document
                                                   Pg 40 of 40




                                                  ADDENDUM
      This Addendum dated September 19, 2016 shall be attached to and form a part of the Office Service
Agreement dated March 29, 2017, by and between PBC-745 Fifth Ave, LLC
Ponderosa Energy LLC

        The following are additional provisions and/or modifications to the foregoing and annexed Office Service
Agreement. In the event of any inconsistency between the provisions of this Addendum and the provisions of the
foregoing and annexed Office Service Agreement, the provisions of this Addendum shall prevail. Except as
otherwise defined herein, all capitalized terms shall have the same meaning as set forth in the Office Service
Agreement.

Amendment to term escalation

As of October 1, 2017, this Agreement will renew for consecutive periods of three months at an adjustment of 0%
of the monthly office charge, whereby either party must provide 1 full calendar month written notice of its intent to
terminate, so that the end of the agreement will fall on the last day of the calendar month. This rate will remain in
effect for a period of no longer than 12 months. In the Event that the term of the renewal agreement is extended
beyond this 12 month period, the monthly office charge will increase by 10 % every 12 months starting October 1,
2018.



IN WITNESS WHEREOF, both parties have executed this instrument by the proper persons duly authorized to do so on
the day and year indicated below.

PBC-745 Fifth Ave, LLC, dba Carr Workplaces
By: Preferred Group, LLC, its authorized agent:            Ponderosa Energy LLC


By: ____________________________________                   By:      ________________________________________

Name: Gregg de los Reyes                                   Name: Richard Sands

Title:   General Manager                                   Title:

Date:    _________________________________                 Date:    ________________________________________




                                                                                                          Rev 3.1.2012
